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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION

UNITED STATES OF AMERICA

      VS                                                          CASE NO. 3:15cr19/MCR

EDDIE CASANOVA

                                 REFERRAL AND ORDER

Referred to Judge M. Casey Rodgers on June 29, 2015
Motion/Pleadings: DEFENDANT CASANOVA’S FIRST MOTION IN LIMINE

Filed by Defendant                            on 6/23/2015            Doc.#            64
RESPONSES:
         Government                           on 6/29/2015            Doc.#            66
                                              on                      Doc.#
       Stipulated             Joint Pldg.
       Unopposed              Consented
                                              JESSICA J. LYUBLANOVITS,
                                              CLERK OF COURT


                                              s/ Susan Simms
                                              Deputy Clerk: Susan Simms
LC (1 OR 2)


                                            ORDER
      Upon    consideration    of the       foregoing, it    is    ORDERED    this   2nd    day   of
July 2015, that the relief requested is DENIED.              The Government does not seek to
introduce the items under Fed. R. Evid. 404(b), and based on the Government’s
response to the motion it appears the items will be introduced as evidence of the
crime charged in the Indictment.            This ruling does not preclude the Defendant
from raising any objections at trial.




                                              M. Casey Rodgers
                                              M. CASEY RODGERS
                                              CHIEF UNITED STATES DISTRICT JUDGE
